Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 1 of 15

AO 243 (Rev. 01/15)

Page 2

MOTION UNDER 28 U.S.C. § 2255 TO VACATE, SET ASIDE, OR CORRECT
SENTENCE BY A PERSON IN FEDERAL CUSTODY

 

 

 

 

 

 

 

 

    

 

    

United States District Court [District of Louisiana (Eastern)
Name (under which you were convicted): Docket or Case No.:
CORNELL PENDLETON Jb -o¢/ Hy
Place of Confinement: Prisoner No.: C 5 5 )
FEDERAL PRISON CAMP OAKDALE 36683-034 a
UNITED STATES OF AMERICA Movant (include name EASTER NOTH OT
V. CORNELL PENDLETON ISIA
MOTION

(a) Name and location of court which entered the judgment of conviction you ar coli W. RRLEVINS Sy

The Honorable Jane Triche Milazzo, United States District Judge for the Eastern District 0
Orleans, Section H.

 

(b) Criminal docket or case number (if you know): _2:16-cr-41-1

 

(a) Date of the judgment of conviction (if you know): _ 12/28/2017

12/21/2017

 

(b) Date of sentencing:

 

Length of sentence: 121 months’ imprisonment; 2 years' supervised release

 

Nature of crime (all counts):

Count 2: Conspiracy to Commit Money Laundering, in violation of 18 U.S.C. §§ 1956(a)(1)(B)(i),(h), 1957;
Counts 4, 6, 8 & 12: Money Laundering (Engaging In Monetary Transactions In Property Derived From
Specified Unlawful Activity), in violation of 18 U.S.C. § 1957; Count 5: Money Laundering, in violation of 18
U.S.C. § 1956(a)(1)(B)(i); Count 13: Structuring Transactions To Evade Reporting Requirements, in violation
of 31 U.S.C. § 5324(a)(3); and Count 15: False Statement on a Loan Application, in violation of 18 U.S.C. §
1014.

 

(a) What was your plea? (Check one)
(1) Not guilty

(2) Guilty [|

(b) If you entered a guilty plea to one count or indictment, and a not guilty plea tranother-eount-or
what did you plead guilty to and what did you plead not guilty to?

(3) Nolo contendere (no contest) [|

—

ENDERED FOR FILING

oer 25 2019

U.S. DISTRICT COURT
astern District of Louisiana

ety Clorle
Jury |v | Judge only L_]
Yes [|

No[¥ |

——. Fee

No [ ] _. Process
—X_ Dktd
—— CiRmDep
—_—— Dac. No.

 

If you went to trial, what kind of trial did you have? (Check one)
Did you testify at a pretrial hearing, trial, or post-trial hearing?

Yes

Did you appeal from the judgment of conviction?
AO 243 (Rev. 01/15)

9.

10.

11.

Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 2 of 15

Page 3

If you did appeal, answer the following:

(a) Name of court: United States Court of Appeals for the Fifth Circuit
(b) Docket or case number (if you know): 17-31007

(c) Result: Affirmed

(d) Date of result (if you know): 2/21/2019

(e) Citation to the case (if you know): 761 Fed. Appx. 339 (5th Cir. 2019)
(f) Grounds raised:

 

 

Whether the district court erred in: 1) failing to enter judgments of acquittal on Counts 2, 4, 5, 6, 8, 12, 13, and
15, when the government failed to prove that Mr. Pendleton: (a) specifically intended to commit money
laundering or disguised publicly disclosed real estate transactions; (b) agreed to conspire to commit money
laundering or furthered any alleged conspiracy's purpose; (c) intended to influence a banking institution by
listing an inaccurate job title; and (d) committed a pattern of illegal activity while structuring transactions; 2)
reinstructing the jury on Count 13's structuring charge mid-deliberations in a manner that prejudiced the
defense; 3) failing to exclude a juror who prejudged the defendant's guilt prior to deliberations and expressed
that opinion to another juror; and 4) sentencing Mr. Pendleton based on acquitted conduct, unproven at trial.

 

(g) Did you file a petition for certiorari in the United States Supreme Court? Yes [| No
If “Yes,” answer the following:
(1) Docket or case number (if you know):
(2) Result:

 

 

 

(3) Date of result (if you know):

 

(4) Citation to the case (if you know);

(5) Grounds raised:

 

 

Other than the direct appeals listed above, have you previously filed any other motions, petitions, or applications,
concerning this judgment of conviction in any court?
Yes No

 

If your answer to Question 10 was “Yes,” give the following information:
(a) (1) Name of court:

 

(2) Docket or case number (if you know):
(3) Date of filing (if you know):

 

 

(4) Nature of the proceeding:
(5) Grounds raised:

 

 

 

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 3 of 15

AO 243 (Rev. 01/15) Page 4

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| No [|

(7) Result:
(8) Date of result (if you know):

 

 

(b) If you filed any second motion, petition, or application, give the same information:
(1) Name of court:

 

(2) Docket of case number (if you know):
(3) Date of filing (if you know):

(4) Nature of the proceeding:

(5) Grounds raised:

 

 

 

 

(6) Did you receive a hearing where evidence was given on your motion, petition, or application?

Yes [| No [ |

(7) Result:
(8) Date of result (if you know):

 

 

(c) Did you appeal to a federal appellate court having jurisdiction over the action taken on your motion, petition,
or application?

(1) First petition: Yes [| No [|

(2) Second petition: Yes [ | No [|

(d) Ifyou did not appeal from the action on any motion, petition, or application, explain briefly why you did not:

 

12. For this motion, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the facts
supporting each ground.

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 4 of 15
AO 243 (Rev, 01/15) Page 5

GROUND ONE: Mr. Pendleton was Denied the Effective Assistance of Counsel During the Plea Negotiation Stage
and With Respect to the Decision to Plead Guilty or Proceed to Trial

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

Facts set forth in contemporaneously submitted Memorandum Brief in Support of Motion to Vacate, Set Aside, or
Correct Sentence, Section IV.A.2-3, and Declaration of Cornell Pendleton in Support of Motion to Vacate, Set
Aside, or Correct Sentence, attached to contemporaneously submitted Motion to Expand the Record.

 

(b) Direct Appeal of Ground One:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes|_] No

(2) Ifyou did not raise this issue in your direct appeal, explain why:

Claims of ineffective assistance of counsel may be initially presented in a Section 2255 proceeding. Massaro
v. United States, 538 U.S. 500, 155 L.Ed.2d 714, 123 S.Ct. 1690 (2003).

 

(c) Post-Conviction Proceedings:
(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No
(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes [| No
(4) Did you appeal from the denial of your motion, petition, or application?

Yes [ ] No [|

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No [|

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 5 of 15
AO 243 (Rev. 01/15) Paige 6

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND TWO:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Two:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes [| No [|

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 6 of 15
AO 243 (Rev. 01/15) Page 7

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?

Yes [| No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [_] No [ |

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [| No L]

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND THREE:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

 
AO 243 (Rev, 01/15)

Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 7 of 15

Page 8

 

(b) Direct Appeal of Ground Three:

(c)

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?
Yes [| No [|

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(3) Did you receive a hearing on your motion, petition, or application?
Yes [| No [_]

(4) Did you appeal from the denial of your motion, petition, or application?
Yes L_] No

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?
Yes L] No

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 8 of 15
AO 243 (Rev. 01/15) rage

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

GROUND FOUR:

 

 

(a) Supporting facts (Do not argue or cite law. Just state the specific facts that support your claim.):

 

(b) Direct Appeal of Ground Four:

(1) Ifyou appealed from the judgment of conviction, did you raise this issue?

Yes [| No [|

(2) Ifyou did not raise this issue in your direct appeal, explain why:

 

(c) Post-Conviction Proceedings:

(1) Did you raise this issue in any post-conviction motion, petition, or application?

Yes | No [|

(2) Ifyou answer to Question (c)(1) is “Yes,” state:

Type of motion or petition:

 

Name and location of the court where the motion or petition was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 9 of 15

AO 243 (Rev. 01/15) Page 10

13.

14.

(3) Did you receive a hearing on your motion, petition, or application?

Yes [ | No [|

(4) Did you appeal from the denial of your motion, petition, or application?

Yes [| No [ |

(5) Ifyour answer to Question (c)(4) is “Yes,” did you raise the issue in the appeal?

Yes [ | No [|

(6) Ifyour answer to Question (c)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

(7) Ifyour answer to Question (c)(4) or Question (c)(5) is “No,” explain why you did not appeal or raise this

issue:

 

Is there any ground in this motion that you have not previously presented in some federal court? If so, which
ground or grounds have not been presented, and state your reasons for not presenting them:

The claim of ineffective assistance of counsel was not previously presented. Such claims are properly initially
presented in a Section 2255 motion. Massaro v. United States, 538 U.S. 500 (2003).

 

Do you have any motion, petition, or appeal now pending (filed and not decided yet) in any court for the
you are challenging? Yes [| No [Vv]

 

If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 10 of 15

AO 243 (Rev. 01/15) Page I

15.

16.

17.

18.

Give the name and address, if known, of each attorney who represented you in the following stages of the
you are challenging:

(a) At the preliminary hearing:

William P. Gibbens, 909 Poydras Street, Suite 1600, New Orleans, LA 70112

 

(b) At the arraignment and plea:
William P. Gibbens, lan L. Atkinson, & Teva Sempel, 909 Poydras Street, Suite 1600, New Orleans, LA 70112

 

(c) At the trial:
William P. Gibbens, lan L. Atkinson, & Teva Sempel, 909 Poydras Street, Suite 1600, New Orleans, LA 70112

 

(d) At sentencing:
William P. Gibbens, lan L. Atkinson, & Teva Sempel, 909 Poydras Street, Suite 1600, New Orleans, LA 70112

 

(e) On appeal:
William P. Gibbens, lan L. Atkinson, & Teva Sempel, 909 Poydras Street, Suite 1600, New Orleans, LA 70112

 

(f) In any post-conviction proceeding:
N/A

 

(g) On appeal from any ruling against you in a post-conviction proceeding:

N/A

 

Were you sentenced on more than one court of an indictment, or on more than one indictment, in the same court
and at the same time? Yes No

Do you have any future sentence to serve after you complete the sentence for the judgment that you are
challenging? Yes [| No

(a) Ifso, give name and location of court that imposed the other sentence you will serve in the future:

 

(b) Give the date the other sentence was imposed:

 

(c) Give the length of the other sentence:

 

(d) Have you filed, or do you plan to file, any motion, petition, or application that challenges the judgment or
sentence to be served in the future? Yes [ | No [|

TIMELINESS OF MOTION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained in 28 U.S.C. § 2255 does not bar your motion.*

 

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 11 of 15
AO 243 (Rev. 01/15) Page 12

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”) as contained in 28 U.S.C, § 2255,
paragraph 6, provides in part that:
A one-year period of limitation shall apply to a motion under this section. The limitation period shall run
from the latest of —
(1) the date on which the judgment of conviction became final;
(2) the date on which the impediment to making a motion created by governmental action in violation of
the Constitution or laws of the United States is removed, if the movant was prevented from making such a
motion by such governmental action;
(3) the date on which the right asserted was initially recognized by the Supreme Court, if that right has
been newly recognized by the Supreme Court and made retroactively applicable to cases on collateral
review; or
(4) the date on which the facts supporting the claim or claims presented could have been discovered
through the exercise of due diligence.

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 12 of 15
AO 243 (Rev. 01/15)

Therefore, movant asks that the Court grant the following relief:

Page 13
Resentencing with the benefits of having pled guilt

y and subject to development of the record in this proceeding under the
terms of the government's unconveyed plea offer
or any other relief to which movant may be entitled

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this Motion

under 28 U.S.C. § 2255 was placed in the prison mailing system on Sosy IL oO [9

(thonth, date, ‘year)

Executed (signed) on Go gtinlu i [ ( Y “10 IF (date)

[' Ldn, bb Bs

Sigitature of Movant

If the person signing is not movant, state relationship to movant and explain why movant is not signing this motion

 
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page 13 of 15

AO 243 (Rev. 01/15) Page |

10.

Motion to Vacate, Set Aside, or Correct a Sentence
By a Person in Federal Custody

(Motion Under 28 U.S.C. § 2255)

Instructions

To use this form, you must be a person who is serving a sentence under a judgment against you in a federal court.
You are asking for relief from the conviction or the sentence. This form is your motion for relief.

You must file the form in the United States district court that entered the judgment that you are challenging. If
you want to challenge a federal judgment that imposed a sentence to be served in the future, you should file the
motion in the federal court that entered that judgment.

Make sure the form is typed or neatly written.

You must tell the truth and sign the form. If you make a false statement of a material fact, you may be prosecuted
for perjury.

Answer all the questions. You do not need to cite law. You may submit additional pages if necessary. If you do
not fill out the form properly, you will be asked to submit additional or correct information. If you want to submit
a brief or arguments, you must submit them in a separate memorandum.

If you cannot pay for the costs of this motion (such as costs for an attorney or transcripts), you may ask to proceed
in forma pauperis (as a poor person). To do that, you must fill out the last page of this form. Also, you must
submit a certificate signed by an officer at the institution where you are confined showing the amount of money
that the institution is holding for you.

In this motion, you may challenge the judgment entered by only one court. If you want to challenge a judgment
entered by a different judge or division (either in the same district or in a different district), you must file a
separate motion.

When you have completed the form, send the original and 2 copies to the Clerk of the United States District
Court at this address:

Clerk, U.S. District Court for the Eastern District of Louisiana
500 Poydras Street, Room C151
New Orleans, LA 70130

If you want a file-stamped copy of the petition, you must enclose an additional copy of the petition and ask the
court to file-stamp it and return it to you.

CAUTION: You must include in this motion all the grounds for relief from the conviction or sentence that
you challenge. And you must state the facts that support each ground. If you fail to set forth all the
grounds in this motion, you may be barred from presenting additional grounds at a later date.

CAPITAL CASES: If you are under a sentence of death, you are entitled to the assistance of counsel and
should request the appointment of counsel.

 

 
of:15

f
/

st
4
®
S|
2 |
i d
GB 3SN TWNOLLYNUALNI GNY DULSAWOd yOg 9102 youeyy ‘gzz jaqey
=|"
a oe Jol
/ T:
ay (3440 mary

vahes 929

1c SY
iW 1S AOS A WSN

ery ino? LIT

BUSNSAE AEs

 

 

-Ol
410 WF?
La nty £9 07/)
ae
= Sah tle OP a Od
S| OS AF XY
Ee | Bf ¥ GAL DAP
zs | 9-E8 IE MV
2 HE 7 woud
iE ~tfpn4 W470i)
55 eWOosdsfi ly sn lisia * TIVW ¥
85 | “Susan ee ALIWOLUd
aN
s 0
ON A a
we) O3YINDSY S5VLSOd
V ave IW4
/ FIV ALIWOIHd

 

 

c/LOX2/L ZLiqo
8102 80 sr Lag |

 

“@POS HO ey} ueos
‘dnyaig aBeyoegy
Say 3[npayos OL

‘pas

SWO}SND eB ‘Ayjeuaye

     

“Aluo aRSaWI0g y

7L0000L0000Sd

AT

Aluo aysawog 4

   

Inbay aq Aew

dag -
T

| #"O8UNU0

 

10 0882 9926 gggo LOLs S096

mM

YWasWNnN ONIMOVHL SdSN
HO MAN

ISu! feuoReUAEzUI

WIT =

Joneunsap feuoje! !
Ul wONIMOVYL Sash) «
gads fans O 3]eq=
|

 

zage-0e102 V1 SNW4 OD LS
1g SvHCAOd 008

(05)

BL/s2/60

9001
z0 ofS 41

2 wW

:Awa AMBATTSO aa.LosadXxa

ae
tu? This envelope is made from post-consumer waste, Please recycle - again.

 

 

 

60-0L0006PS8?

Gels

 

e AWa-2 TIVN ALIWOldd d |

 

 

“s BL/e/60
LLZOoSé ‘ub eo
7 divd abvlsOd Sn E
VIS OLAY : — =
Me) TS TIN

 

 

 

 

 
15
Case 2:16-cr-00041-JTM-MBN Document 235 Filed 09/25/19 Page ag OF |

 

SNIINO S3Mddns 4344 Y3qHO
eNOO'SdSN Lv SN LISIA

*«LHSIBM ANV ¥* FLVYy HNO

AdOTAANS S.LVyY IVI14

   

 

 

4 *
-GAYNsSNI
*

<G44OVeL

       
    

 

e/LEXY/L Zk :qo 7L0000L00008sd ts

8102 190 dpldg |

 

IA

TIVIN
ALIYOIYd

a
SFLVLS GALINA iis |

  

 
